Case 2:13-cr-00026-LRS   ECF No. 247   filed 11/06/13   PageID.623 Page 1 of 8



                                                                       FILED IN THE
                                                                   U.S. DISTRICT COURT
                                                             EASTERN DISTRICT OF WASHINGTON



                                                             Nov 06, 2013
                                                                  SEAN F. MCAVOY, CLERK
Case 2:13-cr-00026-LRS   ECF No. 247   filed 11/06/13   PageID.624 Page 2 of 8
Case 2:13-cr-00026-LRS   ECF No. 247   filed 11/06/13   PageID.625 Page 3 of 8
Case 2:13-cr-00026-LRS   ECF No. 247   filed 11/06/13   PageID.626 Page 4 of 8
Case 2:13-cr-00026-LRS   ECF No. 247   filed 11/06/13   PageID.627 Page 5 of 8
Case 2:13-cr-00026-LRS   ECF No. 247   filed 11/06/13   PageID.628 Page 6 of 8
Case 2:13-cr-00026-LRS   ECF No. 247   filed 11/06/13   PageID.629 Page 7 of 8
Case 2:13-cr-00026-LRS   ECF No. 247   filed 11/06/13     PageID.630 Page 8 of 8




                                                        11/06/2013
